Case 4:16-cv-01414 Document 551 Filed in TXSD on 01/07/19 Page 1 of 3

IN THE UNITED STATES COURT OF APPEALS

United States District Court COR THE FIFTH CIRCUIT
Southern eriet of Texas

 

4:16-CV-1414
JAN ~ 7 2019
David J. Gradiey, Clerk of Court No. 18-20466
MARANDA LYNN ODONNELL, A True Copy

Certified order issued Jan 07, 2019
Plaintiff - Appellee

Clerk, Seg W Court c ws Fifth Circuit
Vv.

ALEX SALGADO; RONNISHA BOWMAN; BRICA HUGHES; SHANNON
BALDWIN; DAVID M. FLEISCHER; KELLEY ANDREWS; ANDREW A.
WRIGHT; FRANKLIN BYNUM; TORIA J. FINCH; LEE HARPER WILSON;
SEDRICK T. WALKER, II; CASSANDRA Y. HOLLEMAN; RAUL
RODRIGUEZ; TONYA JONES,

Defendants - Appellants

 

LOETHA SHANTA MCGRUDER; ROBERT RYAN FORD,

Plaintiffs - Appellees
v.
HARRIS COUNTY, TEXAS, et al,

Defendants
ALEX SALGADO; RONNISHA BOWMAN; ERICA HUGHES; SHANNON
BALDWIN; DAVID M. FLEISCHER; KELLEY ANDREWS; ANDREW A.
WRIGHT; FRANKLIN BYNUM; TORIA J. FINCH; LEE HARPER WILSON;
SEDRICK T. WALKER, IT; CASSANDRA Y. HOLLEMAN; RAUL
RODRIGUEZ; TONYA JONES,

Appellants
Case 4:16-cv-01414 Document 551 Filed in TXSD on 01/07/19 Page 2 of 3

 

Appeal from the United States District Court
for the Southern District of Texas

 

CLERK'S OFFICE:
Under FED. R. APP. P. 42(b), the appeal is dismissed as of January 07,

2019, pursuant to appellants’ motion.

LYLE W. CAYCE
Clerk of the United States Court
of Appeals for the Fifth Circuit

( dp Wynne
By:
Jann M. Wynne, Deputy Clerk

 

ENTERED AT THE DIRECTION OF THE COURT
Case 4:16-cv-01414 Document 551 Filed in TXSD on 01/07/19 Page 3 of 3

‘United States Court of Appeals

FIFTH CIRCUIT
OFFICE OF THE CLERK

LYLE W. CAYCE TEL. 504-310-7700
CLERK 600 S. MAESTRI PLACE
NEW ORLEANS, LA 70130

January O07, 2019

Mr. David J. Bradley

Southern District of Texas, Houston
United States District Court

515 Rusk Street

Room 5300

Houston, TX 77002

No. 18-20466 Maranda ODonnell, et al v. Harris County,
Texas, et al
USDC No. 4:16-CV-1414 7
USDC No. 4:16-CV-1436

Dear Mr. Bradley,

Enclosed is a copy of the judgment issued as the mandate.

Sincerely,
LYLE W. CAYCE, Clerk

(pm Waynrt_

By:
Jann M. Wynne, Deputy Clerk
504-310-7688

 

cc w/fencl:
Mr. Jared Brandon Caplan
Mr. Arpit Kumar Garg
Mr. Michael Gervais
Mr. Joseph Samuel Grinstein
Mr. Joseph David Hughes
Mr. Alec George Karakatsanis
Mr. Neal Manne
Mr. Jonathan Lee Marcus
Ms. Elizabeth Baker Murrill
Mr. George Allan Van Fleet
Mr. Daniel Volchok
Mr. Seth Paul Waxman
Ms. Alexandra Giselle White
